Case 2:05-cv-04182-@Bp-JCW Document 2357-1 Filed eo” Page 1 of 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LARRY D. KNIGHT AND HIS WIFE CIVIL ACTION
IVORY BUTLER KNIGHT
DOCKET NO. 06-7771

VERSUS
SECTION: jf KO

ALLSTATE INSURANCE COMPANY
: MAGISTRATE: 4

CERTIFICATE IN COMPLIANCE WITH LR 7.4.1M

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Larry D.
Knight and Ivory Butler Knight and with respect, represents:

They have been informed that Defendant, Allstate Insurance Company, has
requested that the demand for a trial by jury be withdrawn. Plaintiffs do not oppose
Defendant’s motion to withdraw its demand for trial by jury.

Respectfully submitted,

DONOVAN & LAWLER, APLC

[sarin fC rei?

DAVID L. COLVIN (4353)

CONNIE P. TRIEU (30312)

230 Huey P. Long Avenue

Gretna, LA 70053

Telephone: (504) 367-9001

Facsimile: (504) 367-0650

Attorneys for Plaintiffs,

Larry D. Knight and Ivory Butler Knight

